                        Case 4:11-cr-00151-A Document 109 Filed 08/29/18                    Page 1 of 7 PageID 520
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                      UNITED STATES OF AMERICA                          §                   By -YQVy ~~l{j'            I1
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                      v.                                                §           NO. 4:11-CR-151-A(iii)~---·-- .. )
                                                                        §
                      CRYSTAL MASON-HOBBS                               §


                                               DEFENDANT'S BRIEF IN SUPPORT OF A
                                          FINDING DENYING THE GOVERNMENT'S PETITION
                                                TO REVOKE SUPERVISED RELEASE


                                COMES NOW, Defendant, Crystal LaVon Mason-Hobbs and prays the Honorable Court

                      consider her brief arguments in support of a fmding denying the Government's petition to revoke

                      her term of supervised release. In support, Ms. Mason-Hobbs shows the Court as follows:


                           1. Ms. Mason-Hobbs did not violate the laws of the State of Texas, and her conviction
                                for Illegal Voting is insufficient evidence to show that she did.
                                On March 28, 2018, following a bench trial, the Court found Ms. Mason guilty of illegal

                      voting under Tex. Elec. Code § 64.012(B) and sentenced her to five years' confinement in the

                      Institutional Division of the Texas Department of Criminal Justice. (Judgment of Conviction by

                      Court-Waiver of Jury Trial, cause no. 1485710D). Notice of Appeal was made on the same

                      day. Ms. Mason-Hobbs is currently on bond pending appeal. Her conviction is not fmal under

                      Texas law.

                                In addition to concerns about ineffective assistance of trial counsel due to actual (not

                      potential) conflicts of interest, Ms. Mason-Hobbs is in the process of raising several issues on

                      appeal which are relevant to the matter before the Court in the instant case of her alleged

                      violation of supervised release. Ms. Mason-Hobbs asks that the court consider the nature of her

                      appellate issues when weighing the probative value of her not yet final Tarrant County
    Case 4:11-cr-00151-A Document 109 Filed 08/29/18                          Page 2 of 7 PageID 521



conviction in determining whether Ms. Mason has in fact violated the laws of the State of Texas

as the Government has alleged.

      2. Evidence at Trial was Legally Insufficient to Sustain Conviction.

         The State had the burden to show beyond a reasonable doubt that Ms. Mason (1)

knowingly voted; (2) was ineligible to vote; and (3) knew she was ineligible to vote. TEX. ELEC.

Code § 64.012(a)(1). At trial, the Court was not asked to consider whether the casting of a

provisional ballot constitutes voting as the indictment alleges. Furthermore, at trial, both the

State and defense operated under the assumption that Ms. Mason was ineligible to vote by virtue

of her status on Supervised Release following a Federal felony conviction.

         Ms. Mason-Hobbs has raised serious questions about whether it is clear that 11.02(4) of

the Election Code bars someone in her position from voting. Ms. Mason-Hobbs was not on

probation or parole. Therefore, the State had to show beyond a reasonable doubt that the Ms.

Mason-Hobbs was on "supervision" as that term is used in the Texas Election Code. As the

Defendant and amici before the trial court on the motion for new trial have noted, the term

"supervision" is not defined by the Election Code, and appears to be susceptible to multiple

definitions. See, e.g. Speth v. State, 6 S.W.3d 530, 532 n.3 ("We use the terms probation and

community supervision interchangeably in this opinion."). Here, beyond paying restitution, Ms.

Mason was required only to log into the Federal website once monthly and certify that she had

neither moved, changed telephone numbers, nor been arrested. 1 If Defendant is correct that such

circumstances do not qualify as "supervision" under Section 11.02(4) of the Election Code, then



1
  The ambiguity concerning the term "supervision" as used in the Election Code begs the question as to whether the
State has met its burden to show beyond a reasonable doubt that Ms. Mason knew she was under supervision as that
term is used in the Election Code and knew that such supervision rendered her ineligible to vote. Further, given the
vagueness of the term "supervision," there is significant doubt as to whether Ms. Mason could have known how the
term supervision would be interpreted by the State, the possibility of which raises serious concerns about the
constitutionality of charging Ms. Mason under the statute. United States v. Williams, 553 U.S. 285, 304 (2008).
 Case 4:11-cr-00151-A Document 109 Filed 08/29/18                    Page 3 of 7 PageID 522



the evidence is, in fact, legally insufficient to sustain a conviction, and the verdict is contrary to

the law and the evidence.

            Additionally, Defendant has cast serious doubt as to whether Defendant's act of filling

out a provisional ballot could satisfy the act of voting as required by the Election Code. ELEC.

Code § 64.012(a)(l). Ms. Mason's ballot was, by its very nature, provisional and it ultimately

was not counted. The Election Code does not specify whether the filling out of a provisional

ballot constitutes a ''vote" as meant by the statute, because the term "voting" is undefined under

Texas law. The rule of lenity normally counsels that such ambiguities be interpreted in favor of

the defendant. Additionally, amici have raised serious concerns about whether criminalizing the

act of casting a provisional ballot may be in conflict with the federal Help Americans Vote Act

("HAVA"), and therefore principles of statutory interpretation and constitutional avoidance may

require the statute to be read so as to not criminalize the very process required by HAVA. If the

casting of a provisional ballot does not constitute a vote that can be subject to criminal penalties

under the Election Code, then the evidence was legally insufficient to convict Ms. Mason-Hobbs.

            Furthermore, the evidence presented during trial was insufficient to establish that Ms.

Mason-Hobbs KNEW that she was ineligible to vote. Letters presented purporting to serve as

notice of suspension of Ms. Mason-Hobb's voting rights were sent to her home address. 2

However, Ms. Mason Hobbs was the custody of the U.S. Bureau of Prisons at the time.

Therefore, she never received such notices. No evidence was presented that these notices were

forwarded or delivered to Ms. Mason- Hobbs at her prison address. Additionally, in direct

contradiction to the State's allegation of Ms. Mason-Hobbs' knowledge of ineligibility,




2 Exhibit   A.
    Case 4:11-cr-00151-A Document 109 Filed 08/29/18                Page 4 of 7 PageID 523



Supervisory U.S. Probation Officer, Kenneth Mays, provided testimony that he did not advise

Ms. Mason-Hobbs that she was not eligible to vote. 3

           Ms. Mason Hobbs will bring the issue on appeal that the Texas statute which establishes

the offense of illegal voting is unconstitutionally vague. It is unclear who is and is not subject to

"supervision" as laid out in Section 11.02(4) of the Election Code. This vagueness is a serious

problem in the definition of who among us is qualified to vote, to say nothing about who is

subject to prosecution under the illegal voting provision of the same code (Section 62.012). The

right of a US citizen to vote is a fundamental right (Reynolds v. Sims 377 U.S. 533, 561-62

(1964)., 42 U.S.C sec. 1973gg ("The Congress finds that (1) the right of citizens of the United

States to vote is a fundamental right").

           Setting aside whether felon disenfranchisement achieves or is aimed at achieving a

compelling state interest, the strict scrutiny that protects fundamental rights includes narrow

tailoring to prevent overbreadth. The qualified voter under Section 11.02(4) of the Election Code

cannot be under "supervision" following a felony conviction, but uncertainty as to what that

"supervision" is and is not (Sex offender registration? Hospitalization following an acquittal by

reason of insanity? Appeal bond? Supervised release? Continuing duty to make restitution?)

muddies the waters of who is and is not qualified to vote. This statute is not specific enough to

prevent arbitrary and capricious enforcement let alone meet the standard of having been

narrowly tailored to meet a compelling government interest. The lack of definition in the statute

combined with the strict scrutiny that is afforded to those laws which would seek to abridge or

limit fundamental rights means that both on its face and as applied to Crystal Mason-Hobbs, the

prosecution of Ms. Mason-Hobbs amounts to a violation of the equal protection clause as well as

the due process clause of the 14th Amendment.

3   Exhibit B.
Case 4:11-cr-00151-A Document 109 Filed 08/29/18                  Page 5 of 7 PageID 524



       These concerns and others involving ineffective assistance of counsel will make up the

substance of Ms. Mason-Hobbs's appeal, and they are of a nature that would call into question

the criminality of Ms. Mason-Hobbs's conduct and by extension the Government's allegation that

Ms. Mason-Hobbes violated the terms of her supervised release by committing a new offense.

Justice demands a closer examination of Texas law as applied to Ms. Mason's facts be

undertaken by Texas courts before the Federal Courts weigh in on the matter.

       The law establishing the offense of illegal voting is a problematically vague statute with

minimal case law and nothing on point to Ms. Mason-Hobb's situation of casting a provisional

ballot while on supervised release. The issue of whether a provisional ballot cast in Texas while

on supervised release constitutes illegal voting is an issue of first impression in Texas, and one

that touches on fundamental rights. Texas courts should have an opportunity to weigh in,

contextualize, and interpret Texas law. Only after Texas courts can hear and decide on Ms.

Mason-Hobbs's case can the Government make a prima facie case alleging that Ms. Mason-

Hobbs has violated the law.

   3. The Government's allegation that Ms. Mason-Hobbs is willfully delinquent on
      repaying her restitution is spurious.

       Ms. Mason-Hobbs, having been adjudged indigent, has paid toward restitution to the best

ofher ability. There has been no change in her status ofindigency. She has no employment. The

attorneys appearing with her presently are working pro-bono and have received no

compensation.

       When determining to revoke a term of supervised release, the Court must consider the

While it has been well established that a conviction for a new offense is not necessary for a

finding of a violation, and proof of culpable conduct by a preponderance of the evidence is
 Case 4:11-cr-00151-A Document 109 Filed 08/29/18                             Page 6 of 7 PageID 525



sufficient for revocation, the Sentencing Guidelines recommend that the grade of the violation be

based on the defendant's ACTUAL conduct. 4

        Although part of section 7B 1.3 is written in mandatory terms ("the court shall revoke")

for Grade A and B violations, as previously noted, Chapter Seven of the Guidelines Manual

contains only non-binding policy statements. The only truly mandatory grounds for revocation

are the four grounds set forth in 18 U.S.C. § 3583(g), which do not apply to Ms. Mason-Hobbs.

In all other cases in which a violation is found, the court may opt not to revoke supervised

release and incarcerate the offender and, instead, continue him or her on supervision (under the

same terms or with modified terms), extend the term of supervision, or sentence the offender to a

term of home detention in lieu of incarceration. 5

        Ms. Mason-Hobbs filed a provisional ballot.                 Her action, in and of itself, was not

"criminal" conduct. The criminal conviction in the Texas state case is currently under appeal,

with numerous legitimate appealable issues. Ms. Mason-Hobbs is does not pose a threat to the

public. She has otherwise been a model citizen and has worked to educate and re-intergrate

herself into society. Revocation of supervised release under these circumstances would not be

necessary.

        WHEREFORE, PREMISES CONSIDERED, Ms. Mason-Hobbs prays that the Court

consider the arguments and law laid out herein and DENY the Government's Petition to Revoke

her Term of Supervised Release.




4 USSG §7Bl.l, comment. (n.l) ("The grade of violation does not depend on conduct that is the subject of criminal

charges or of which the defendant is convicted in a criminal proceeding. Rather, the grade of the violation is to be
based on the defendant's actual conduct.")
5 18 U.S.C. § 3583(e)(l)-(4).
Case 4:11-cr-00151-A Document 109 Filed 08/29/18     Page 7 of 7 PageID 526



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